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Fill in this information to identify your case:

Debtor 1           Demetrius Robinson
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            Tamara Robinson
                    ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                        District Of Maryland
United States Bankruptcy Court for the: _______________________________________

Case number         19-23597-LSS
                    ___________________________________________                                                                               Check if this is an
 (If known)                                                                                                                                      amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                  
                                                                                      X Surrender the property.                          
                                                                                                                                         X No
          name:      Mr. Cooper
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt: Single     Family Home                                          Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

          Creditor’s                                                                   Surrender the property.                           No
          name:
                                                                                       Retain the property and redeem it.                Yes
          Description of
          property                                                                     Retain the property and enter into a
          securing debt:                                                                 Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                         ______________________________________

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                                            Case 19-23597         Doc 18         Filed 11/12/19        Page 2 of 2
Your name      Demetrius Robinson
               ______________________________________________________                                                 19-23597-LSS
                                                                                                Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                   Will the lease be assumed?

     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
     Description of leased                                                                                               Yes
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                    No
                                                                                                                        Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



 s/Demetrius Robinson
      ___________________________________________                s/Tamara Robinson
                                                                    ___________________________________________
     Signature of Debtor 1                                           Signature of Debtor 2

          11/11/2019
     Date _________________                                          Date 11/11/2019
                                                                          _________________
            MM /    DD   /   YYYY                                         MM /   DD /   YYYY




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